
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1203

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               CHARLES HENRY GILL, JR.,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                                Boudin, Circuit Judge,
                                        _____________

                              and Lisi,* District Judge.
                                         ______________

                                 ____________________

            Terry A. Fralich  with whom Peter J.  DeTroy and Norman, Hanson  &amp;
            ________________            ________________     _________________
        DeTroy were on briefs for appellant.
        ______
            Helene  Kazanjian, Assistant  United  States  Attorney, with  whom
            _________________
        Jay P.  McCloskey, United States Attorney, was on brief for the United
        _________________
        States.


                                 ____________________

                                   November 6, 1996

                                 ____________________



                            
        ____________________

        *Of the District of Rhode Island, sitting by designation.















                 BOUDIN, Circuit  Judge.   Charles Gill appeals  from his
                         ______________

            sentence,  following a  plea  of guilty  to various  criminal

            charges, to  challenge two sentencing  determinations made by

            the district judge.  One involves the issue of the vulnerable

            victim  adjustment,   U.S.S.G.     3A1.1(b);  the  other,  an

            increase for abuse of a position of trust.  Id.   3B1.3.  The
                                                        ___

            facts,  which  we  briefly  summarize,  are  drawn  from  the

            presentence report,  the  sentencing transcript  and  various

            other materials  before the district court.  United States v.
                                                         _____________

            Egemonye, 62 F.3d 425, 426 (1st Cir. 1995).  
            ________

                 From  August 1993  until November  1994, Gill  owned and

            operated  the  Maine  Health  Trust, doing  business  as  The

            Counseling   Center   in   Fryberg,   Maine,   and   provided

            psychological  counseling  services  to  individuals  at  the

            Counseling  Center  during this  period.   Additionally, from

            February 1994  to November 1994, Gill  was employed part-time

            at the Bethel Area  Health Center in Bethel, Maine,  where he

            performed similar counseling services.  

                 Gill told individual patients at the two facilities, and

            his employers  at  the Bethel  Area  Health Center,  that  he

            possessed a doctoral degree in psychology and was licensed as

            a psychologist or counselor  under Maine law.  In  fact, Gill

            was not licensed and had never received an advanced degree in

            either  psychology or  counseling.   Gill  had a  substantial

            record of offenses involving theft and passing bad checks.



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                 During the period in question, Gill submitted claims, or

            caused patients and  the Bethel Area Health Center  to submit

            claims for payment to various private insurance companies and

            the  Medicare and  Medicaid programs  for services  that Gill

            provided  to them.  The  total value of  the payments claimed

            from these entities was over $37,000.  Gill also made similar

            false  statements as to his  credentials and licensing to the

            insurance companies and to Medicare and Medicaid authorities.

            Gill  received payments totalling  over $16,000 directly from

            individual patients.  

                 In  March  1995,  Gill  pled  guilty  to  one  count  of

            willfully  using  a passport  secured  by  means of  a  false

            statement,  18  U.S.C.     1542, Gill  having  proffered  the

            passport when  the Bethel Area Health  Center requested proof

            of  his citizenship  at  the start  of  his employment.    In

            October  1995, Gill pled guilty  to one count  of mail fraud,

            one  count of  wire  fraud, and  one  count of  making  false

            statements to  the Medicare and Medicaid programs.  18 U.S.C.

                 1341,  1343;  42  U.S.C.     1320.    All  charges  were

            consolidated for sentencing.  

                 Following a  hearing on  January 30, 1996,  the district

            court sentenced Gill to  40 months' imprisonment, three years

            supervised release,  and a requirement of  restitution in the

            amount of $43,481.49.  The underlying calculations included a

            two-level increase  in Gill's  base offense level  for victim



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            vulnerability, U.S.S.G.   3A1.1(b), and  a two-level increase

            for abuse of a  position of trust, id.   3B1.3.   It is these
                                               ___

            two adjustments that  are the sole subjects  of Gill's appeal

            from  his sentence.   Gill was  sentenced under  the November

            1995 edition  of the guidelines,  and references are  to that

            version unless otherwise specified.

                 The standard of review in such a case is simple, in fact

            deceptively so,  in the  standard formulation:   the district

            court's  factual   findings  are  respected   unless  clearly

            erroneous,  and the  determinations  of law  are reviewed  de
                                                                       __

            novo.  United States v. Sabatino,  943 F.2d 94, 102 (1st Cir.
            ____   _____________    ________

            1991).   In principle, the application of a legal standard to

            undisputed  facts  is  also an  issue  of  law,  id., but  in
                                                             ___

            practice the matter is not quite so clear-cut.

                 Victim  vulnerability.    Since  November 1,  1989,  the
                 _____________________

            provision now  designated  U.S.S.G.    3A1.1(b) has  remained

            substantially  unchanged, although  a  recent change  in  the

            commentary   is  pertinent   to  the  issue   of  "targeting"

            (discussed  below).   The  black letter  of section  3A1.1(b)

            states that  a two-level increase in  the defendant's offense

            level must be imposed:

                 [i]f the defendant knew or should have known that a
                 victim of  the offense was unusually vulnerable due
                 to  age, physical  or mental  condition, or  that a
                 victim  was  otherwise particularly  susceptible to
                 the criminal conduct. 





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                 The presentence report  proposed that the adjustment  be

            applied  to  Gill.     As  amended  to  reflect   rulings  on

            objections,  the  report reasoned  that  Gill  knew that  the

            patients  with whom  he would  be dealing  "had psychological

            difficulties, mental  health  disorders and  substance  abuse

            problems."  Accordingly, the probation officer said that Gill

            knew  that  his  victims were  vulnerable  and  "specifically

            targeted them because of their  `vulnerability' by [choosing]

            to  play the part  of a  person who  treats such  people with

            mental health problems."

                 At sentencing,  the district  court  concluded that  the

            victims "were  especially vulnerable  because of their  needs

            that  gave rise  to  their  seeking  and their  receiving  of

            services."    The court  cited  decisions  in other  circuits

            imposing  such  an  adjustment  on  individuals  fraudulently

            providing medical services.  See United States v. Echevarria,
                                         ___ _____________    __________

            33  F.3d  175, 180-81  (2d  Cir.  1994) (unlicensed  doctor);

            United States  v. Bachynsky, 949  F.2d 722, 735-36  (5th Cir.
            _____________     _________

            1991) (physician making false  diagnoses), cert. denied,  506
                                                       ____________

            U.S. 850 (1992).

                 Gill disputes the district court's adjustment on several

            grounds.  He argues that the finding of vulnerability must be

            based on  evidence as to  individuals, rather than  upon mere

            membership  in a  class.   He  denies  that the  patients  he

            victimized were especially vulnerable.  Finally, he says that



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            he  did  not  "target"  the  victims   on  account  of  their

            vulnerability, a  requirement  he imputes  to  the  guideline

            based  on commentary  language.   The  first  two claims  are

            related; the  last we discuss separately in  the next section

            of this opinion.

                 The vulnerable  victim guideline is  primarily concerned

            with the impaired capacity of the victim to detect or prevent

            the  crime, rather than with the quantity of harm suffered by

            the victim.   The latter  aggravation is dealt  with in  five

            other  provisions of  the  guidelines,  expressly  permitting
            _____

            upward  departures  where   the  crime  resulted   in  death,

            significant  physical  injury, extreme  psychological injury,

            special  property damage,  or  the  gratuitous infliction  of

            injury or  prolonging of  pain or  humiliation.   U.S.S.G.   

            5K2.1, .2, .3, .5, .8.  As United States v. Kaye, 23 F.3d 50,
                                       _____________    ____

            54 (2d Cir. 1994), explained:

                      [T]he courts appear  to have  interpreted
                      the phrase "susceptible  to the  criminal
                      conduct" as emphasizing that a particular
                      victim  was  less  likely  to  thwart the
                      crime,  rather than more likely to suffer
                      harm if the crime is successful.

                 Thus,  the issue here is whether the patients at the two

            mental  health  facilities  where  Gill  practiced  were,  on

            account of their condition,  substantially less able than the

            average citizen  to protect themselves against  Gill's fraud.

            There is nothing in the presentence report or in the district

            judge's  comments  that suggests  a misunderstanding  on this


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            point.  However, we stress the focus of the  guideline at the

            outset because one cannot measure degrees of vulnerability or

            susceptibility   without  some   notion   of  what   kind  of
                                                                 ____

            vulnerability or susceptibility is at issue.

                 Even  thus narrowed,  our case  is  peculiarly difficult

            because Gill was dealing with a group, made up of individuals
                                            _____

            about whom we know  almost nothing beyond the fact  that they

            fall  into a class of persons, namely, those who visit mental

            health  centers for  counseling and  therefore are  likely to

            have or think  they have some  emotional or mental  problem--

            which may afflict the patient or a related non-patient.  Gill
                                          __

            argues that in such a case it is improper for a vulnerability

            finding to be based on  membership in a class rather  than on

            evidence as to a specific individual.

                 Appeals  courts have  been  rather more  willing to  set

            aside determinations of vulnerability  made solely on a class

            basis  than when  the focus  was on  the susceptibility  of a

            specific individual.  United States v. Rowe, 999 F.2d 14, 16-
                                  _____________    ____

            17 (1st Cir. 1993).  But, as we also said in Rowe, this is in
                                                         ____

            no way a fixed rule.  Id. at 17.  In some cases the inference
                                  ___

            to be drawn from the class characteristics may be so powerful

            that there can be little doubt about unusual vulnerability of

            class members within the meaning of section 3A1.1.

                 The  guideline makes  clear that  "class" determinations

            are  permissible  by  saying   in  its  commentary  that  the



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            adjustment  would apply  to someone  who sold  an ineffective

            cancer  cure.  U.S.S.G.    3A1.1(b), comment.  n.2.  Numerous

            cases  have   upheld  upward  adjustments   based  on   group

            determinations.  See, e.g., United States v. Malone, 78  F.3d
                             _________  _____________    ______

            518, 522-23  (11th Cir.  1996) (cab drivers);  Echevarria, 33
                                                           __________

            F.3d  at   180-181  (medical  patients);  United   States  v.
                                                      _______________

            McDermott,  29   F.3d  404,   411  (8th  Cir.   1994)  (black
            _________

            teenagers);  United States v. Peters, 962  F.2d 1410, 1417-18
                         _____________    ______

            (9th   Cir.  1992)  (people   with  poor  credit  histories);

            Bachynsky, 949 F.2d at 735 (medical patients).
            _________

                 In Rowe, the primary subjects of the fraud were business
                    ____

            entities, and, without knowing more about any company, it was

            hard  for us to see  how they were  "unusually" vulnerable to

            fraud.  The more recent case  of United States v. Feldman, 83
                                             _____________    _______

            F.3d 9 (1st  Cir. 1996), also  relied upon by Gill,  is quite

            different.   There,  this court  was concerned  with  a crime

            directed  against only one or  two specific victims.   Id. at
                                                                   ___

            15-16.   To resort to a single, class-based characteristic in

            such a case is to prefer the less complete picture  to a more

            complete one readily available.

                 Yet  even  in  a   one-victim  case,  a  single  "class"

            characteristic  could be so powerful a proof of vulnerability

            as to settle the  issue without more.  Indeed,  the guideline

            commentary  suggests it would be enough to show that an armed

            robbery  victim was  confined to  a wheelchair.    U.S.S.G.  



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            3A1.1(b), comment. n.2.   In truth, many inferences  about an

            individual rest on an  implicit generalization about a class.

            Everything depends on the strength of the inference.

                 In our  own case,  the government could  have simplified

            matters if it had offered evidence from some of Gill's former

            patients  as  to their  own conditions.    At the  same time,

            concerns about  privacy and privilege make  it pretty obvious

            why  the prosecutor  might wish  to avoid  this course--quite

            apart  from  considerations  of time  and  expense.    In all

            events, the government  was free to  rest upon the  inference

            that many  such patients would be  highly vulnerable, leaving

            it to the sentencing judge to agree or disagree.

                 In  our  view,  a   sentencing  judge  could  reasonably

            conclude  based on  general  knowledge that,  in the  typical

            situation,  at least a fair number of patients at a community

            mental health center are commonly under significant emotional

            stress.  True, some  patients might be free of stress  but to

            suppose this to be generally true is unrealistic.  Counseling

            in mental  health matters  often involves disclosing  affairs

            that  most people  treat  as private  and,  if for  no  other

            reason, it  is a step  that many are  likely to take  only to

            cope with substantial strains. 

                 The records revealed that Gill had treated many

            patients and that a number  of them had multiple visits.   It

            is thus  safe to infer  that at  least some of  these victims



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            were under significant stress  and so unusually vulnerable to

            Gill's fraud.  It seems to us evident that Gill could foresee

            the risk sufficiently to meet the guideline's "knew or should

            have known" standard.  Id.   3A1.1(b).  See United  States v.
                                   __               ___ ______________

            Skillman, 922 F.2d 1370, 1378  (9th Cir. 1990), cert. denied,
            ________                                        _____ ______

            502 U.S. 922 (1991).1

                 Ours would be a different case if Gill had seen only one

            patient and we  knew nothing  about that individual.   Yet  a

            different problem would be presented if Gill had accepted the

            general  inference as  to most  clinics but  offered evidence

            that his clinic  treated only persons with a  special problem
                 ___

            unlikely  to involve  much patient  stress.   But neither  of

            these variations is presented, and there will be time  enough

            to deal with them, and many other variations, as cases arise.

                 Targeting.   Gill  makes a  separate complaint  that his
                 _________

            section 3A1.1 enhancement was erroneously applied  because he

            did not  "target"  or select  his  victims because  of  their

            unusual  vulnerability.    He  cites several  cases  for  the

            proposition that  this motivation  is a additional  requisite

            element.   Until  November  1995, the  commentary to  section

            3A1.1  stated  that  the  section was  applicable  "where  an

                                
            ____________________

                 1This contrasts  with the  situation,  described by  the
            guideline commentary, in which one of many victims happens to
            be vulnerable by some  circumstance accidental in relation to
            the  fraud  and largely  unforeseen.    U.S.S.G.    3A1.1(b),
            comment.  n.2  (enhancement  not applicable  to  purveyor  of
            fraudulent securities to general public if one victim happens
            to be senile).

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            unusually  vulnerable victim  is  made a  target of  criminal

            activity by the  defendant."  U.S.S.G.   3A1.1,  comment. n.1

            (Nov. 1994).

                 This commentary language was  deleted  by the Sentencing

            Commission in  November 1995 to "clarif[y]  the operation" of

            section  3A1.1.   U.S.S.G.  App.C, Amend.  521, at  430 (Nov.

            1995).  But Gill's  criminal conduct took place prior  to the

            amendment date.  So,  if the 1995 amendment  did away with  a

            previously  required  element  of targeting  motivation,  the

            prior guideline might have to be followed under ex post facto
                                                            _____________

            principles.    See  U.S.S.G.      1B1.11;  United  States  v.
                           ___                         ______________

            Prezioso, 989 F.2d 52, 53-54 (1st Cir. 1993).
            ________

                 Gill's  argument about  targeting leans  heavily on  our

            opinion in  Rowe.  The  Rowe case  involved a scheme  to sell
                        ____        ____

            fraudulent  health   insurance  policies  to   various  small

            businesses, that  were  not,  in our  opinion,  shown  to  be

            unusually vulnerable under section 3A1.1.  Rowe,  999 F.2d at
                                                       ____

            16-17.  When the  government said that some of  the employee-

            patients might have  been unusually vulnerable--because  once

            insured they  could not  easily switch  companies--we replied

            that  there  was no  "special  targeting  [by Rowe]  of  such

            victims."  Id. at 17.
                       ___

                 The confusion  is understandable, and wholly  of our own

            making, but  it does not  help Gill.   All that we  meant was

            that the case might  have been different if the  Rowe's fraud



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            had involved  direct dealings between Rowe  and the employee-

            patients  whereby the success of his scheme had depended upon

            the latter's  vulnerability.  See, e.g.,  Bachynsky, 949 F.2d
                                          ___  ____   _________

            at 735 (upholding enhancement against physician who submitted

            false claims to insurers  after seeing vulnerable  patients).

            In short, the reference  to targeting in Rowe had  nothing to
                                                     ____

            do  with laying  down a  separate and  additional requirement

            that the primary subject  of the fraud be a "target," as well

            as foreseeably vulnerable to an unusual degree.  

                 Although the  circuits are divided,2  such an additional

            requirement  of  "targeting,"  even  under  the pre-amendment

            guideline,  is  at  odds  with the  evident  purpose  of  the

            guideline: to  punish more  severely conduct that  is morally

            more  culpable and  to protect  such victims  by adding  more

            deterrence.   See, e.g., United  States v.  Brunson, 54  F.3d
                          _________  ______________     _______

            673, 676  (10th Cir.),  cert. denied,  116 S.Ct. 397  (1995);
                                    _____ ______

            United States v. Morrill, 984  F.2d 1136, 1137-38 (11th  Cir.
            _____________    _______

            1993).   Further, to require subjective motivation undermines

            the guideline's own lesser scienter requirement, namely, that

            the defendant  "knew or  should have known"  of the  victim's

            unusual vulnerability.

                                
            ____________________

                 2Compare United  States v. O'Brien, 50  F.3d 751, 755-56
                  _______ ______________    _______
            (9th Cir.  1995) (declining to impose  a scienter requirement
            of targeting beyond the "knew or should have known" standard)
            with  United States v. Holmes,  60 F.3d 1134,  1136 (4th Cir.
            ____  _____________    ______
            1995)  (discussing  additional  targeting  requirement),  and
                                                                      ___
            United  States v.  Smith, 39  F.3d 119,  124 (6th  Cir. 1994)
            ______________     _____
            (adopting targeting requirement). 

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                 In the present case,  the main subjects of  Gill's fraud

            include both  the patients  with whom he  dealt directly  and

            those  third  parties  who  were billed,  such  as  insurance

            companies.  It is  a reasonable, indeed compelling, inference

            that  the former  include at  least some  who were  unusually

            vulnerable and were foreseeably so.  That is enough under the

            guideline, pre  and post amendment, regardless  of Gill's own

            private  motivation.    If  Rowe  has  confused  matters,  as
                                        ____

            apparently it has, we are happy to set the record straight.

                 Abuse of Position of  Trust.  Gill also argues  that the
                 ___________________________

            district court erred in enhancing his sentence under U.S.S.G.

              3B1.3.   That section provides for  a two-level enhancement

            "if the  defendant abused  a  position of  public or  private

            trust  . . . in  a manner that  significantly facilitated the

            commission or concealment of the offense."  U.S.S.G.   3B1.3.

            Thus, the district court must first decide that the defendant

            occupied a position of trust and then  find that he used that

            position to  facilitate or conceal  the offense.   See United
                                                               ___ ______

            States v. Santiago-Gonzalez, 66 F.3d 3, 8 (1st Cir. 1995).
            ______    _________________

                 Here  the district  court concluded  that, at  least "in

            real life terms," Gill occupied  a position of trust relative

            to his  counseling patients, and that Gill  took advantage of

            the   patients'  reliance   on  his   claimed  status   as  a

            psychologist to  further his  fraud scheme.   Gill challenges

            both  findings, claiming that he  did not hold  a position of



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            trust as intended  by the  guideline, and that  there was  no

            evidence that he abused his position.

                 Were  Gill a  duly  licensed psychologist  who used  his

            status  as a  mental health  professional to  perpetrate some

            fraud or  other crime upon  his patients and  their insurers,

            there  is no  doubt  that section  3B1.3's enhancement  would

            apply.   "Effective  psychotherapy  . .  .  depends  upon  an

            atmosphere  of confidence and  trust in which  the patient is

            willing  to make  a frank  and complete disclosure  of facts,

            emotions, memories, and  fears."  Jaffee  v. Redmond, 116  S.
                                              ______     _______

            Ct.  1923, 1928 (1996).  The guideline phrase "private trust"

            readily describes  the relationship  of a psychologist  vis a

            vis his or her patients.

                 Gill argues that because  he did not legitimately occupy
                                                      ____________

            the position  of counselor, he  did not "hold"  that position

            under section 3B1.3.   This argument  has persuaded at  least

            one other circuit.  In Echevarria, 33 F.3d at 181, the Second
                                   __________

            Circuit reversed  a section 3B1.3 enhancement  on a defendant

            who falsely held  himself out  as a  physician, stating  that

            "[w]e  do not believe  that an imposter  `holds' the position

            that  he  purports  to  occupy within  the  meaning  of  this

            commentary."  It does not persuade us.

                 We  appreciate that read  literally, the guideline could

            be taken to  refer only  to one who  legally or  legitimately

            occupied a position of trust, presumably the usual case.  But



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            the  threat  that animates  the  guideline may  as  easily be

            present  where the position is occupied by an imposter.  That

            threat--illustrated by the  lawyer who bilks a  client out of

            trust funds  or the doctor who sexually  abuses a patient--is

            that wrongdoer's  position facilitates the crime, reduces the

            chance of detection, or both.  See U.S.S.G.   3B1.3, comment.
                                           ___

            n.1.

                 The  threat is  equally  present whether  the lawyer  or

            doctor is fully licensed or is a pretender sporting a vest or

            white coat and displaying a fake diploma.  In both cases, the

            wrongdoer is  using the ostensible position  to facilitate or

            conceal the crime, just as  Gill's extraction of payments was

            facilitated by his claim to be a licensed counselor.  Our own

            cases have stressed the practical realities rather than legal

            title in applying this adjustment.3  This is also the view of

            the Tenth Circuit in United States v. Queen, 4 F.3d 925, 929-
                                 _____________    _____

            30 (10th Cir. 1993).

                 The district court here found that Gill did acquire, "in

            real life terms . . . by virtue of his conduct" a position of

            trust relative to his patients.  "Trust" alone, of course, is


                                
            ____________________

                 3See United States v. Newman, 49 F.3d 19 (1st Cir. 1995)
                  ___ _____________    ______
            (section 3B1.3  enhancement upheld  against  a defendant  who
            defrauded a  corporation that  was under his  actual control,
            despite the  fact that he  had never properly  obtained legal
            authority  over  the  corporation);  cf.  United   States  v.
                                                 __   _______________
            Innamorati, 996 F.2d 456,  489-90 (1st Cir.) (former registry
            __________                                    ______
            police  officer  subject  to  enhancement  if  prior position
            facilitated crime), cert. denied, 510 U.S. 955 (1993).
                                ____________

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            not  enough; there  must  also  be  a  "position."    But  by

            pretending,  Gill effectively occupied  the "position" so far

            as the present guideline is concerned.

                 Affirmed.
                 ________













































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